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 In the United States Court of Federal Claims
                                         No. 20-996 C
                                  Filed: November 17, 2021

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                                    *
HUMANA, INC.,                       *
                                    *
                   Plaintiff,       *
                                    *
       v.                           *
                                    *
THE UNITED STATES,                  *
                                    *
                   Defendant.       *
                                    *
 * * * * * * * * * * * * * * * * ** *

                                           ORDER

         On November 4, 2021, the parties filed a Joint Status Report and Motion to Continue
Stay. ECF No. 16. For good cause shown, this case will remain STAYED. The parties shall
file a joint status report on or before January 4, 2022.

IT IS SO ORDERED.



                                                   s/ Zachary N. Somers
                                                   ZACHARY N. SOMERS
                                                   Judge
